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                        EXHIBIT A
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                     1
                                        UNITED STATES DISTRICT COURT
                     2         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                     3 BROIDY CAPITAL MANAGEMENT                     Case No. 2:18-CV-02421-JFW-(Ex)
                     4 LLC and ELLIOTT BROIDY,                       The Honorable John F. Walter
                     5 Plaintiffs,                                   Request to the Appropriate Judicial
                     6 v.                                            Authority of the State of Qatar for
                                                                     Judicial Assistance
                     7 STATE OF QATAR, STONINGTON                    ________
L L P




                       STRATEGIES LLC, NICOLAS D.
                     8 MUZIN, GLOBAL RISK ADVISORS
F L E X N E R




                     9 LLC, KEVIN CHALKER, DAVID
                       MARK POWELL, MOHAMMED BIN
                    10 HAMAD BIN KHALIFA AL THANI,
                    11 AHMED AL-RUMAIHI, and DOES 1-
                       10,
S C H I L L E R




                    12 Defendants.
                    13
                    14
                    15         The United States District Court Central District of California presents its
B O I E S




                    16 compliments to the appropriate judicial authority of the State of Qatar, and requests
                    17 international assistance to obtain evidence to be used in a civil proceeding before
                    18 this Court in the above captioned matter.
                    19         I.    REQUEST
                    20         This Court respectfully requests the assistance described herein as necessary
                    21 in the interests of justice. This Court requests that the appropriate judicial authority
                    22 of the State of Qatar compel Ooredoo Q.S.C. (“Ooredoo”), a company having its
                    23 principal place of business in Doha, Qatar, to produce the documents requested in
                    24 Attachment A (“Evidence Request”). Ooredoo’s address in Doha, Qatar is:
                    25
                                     Ooredoo Q.S.C.
                    26
                                     Ooredoo Tower
                    27               West Bay Area, Doha, Qatar
                    28

                                                                                       LETTER ROGATORY
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                     1         The appropriate judicial authority of the State of Qatar is requested to serve
                     2 the Evidence Request in a manner of service consistent with the laws of the State of
                     3 Qatar. This Court further requests that Ooredoo be ordered to produce the
                     4 documents requested in the Evidence Request directly to David K. Willingham,
                     5 counsel for Plaintiffs at the following address:
                     6
                     7                David K. Willingham, Esq.
L L P




                                      725 S Figueroa Street, 31st Floor
                     8                Los Angeles, California 90017
F L E X N E R




                     9                Phone: +213-629-9040

                    10
                               II.    FACT OF THE CASE
                    11
                               Plaintiffs Broidy Capital Management LLC (“BCM”) and Elliott Broidy
S C H I L L E R




                    12
                         (“Broidy”) have filed a civil complaint against Defendants the State of Qatar,
                    13
                         Stonington Strategies LLC, Nicolas D. Muzin, Global Risk Advisors LLC, Kevin
                    14
                         Chalker, David Mark Powell, Mohammed Bin Hamad Bin Khalifa al Thani, Ahmed
                    15
B O I E S




                         Al-Rumaihi, and other as yet unidentified individuals and entities. The complaint
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                         alleges that the State of Qatar, by itself and/or through its agents, unlawfully hacked
                    17
                         into Plaintiffs’ email accounts and computer servers, stole private emails and
                    18
                         documents, and broadly disseminated the stolen items to domestic and foreign
                    19
                         media.
                    20
                               Based on currently available information, Ooredoo appears to be in
                    21
                         possession of evidence that is directly relevant to material issues in dispute before
                    22
                         this Court. BCM’s computer server logs show that someone using one or more
                    23
                         computing devices on Ooredoo’s Internet service provider network (“Ooredoo ISP
                    24
                         Network”) connected to BCM’s servers on February 14, 2018 and February 19,
                    25
                         2018. BCM’s server logs also show that the user or users of the computing devices
                    26
                         transmitted BCM’s and Broidy’s confidential and proprietary data from BCM’s
                    27
                         servers to unauthorized computers. Neither BCM nor Broidy were aware of, or
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                                                                                        LETTER ROGATORY
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                     1 authorized, the data transfers described above. The Internet Protocol Address used
                     2 by the identified computing device or devices (“Subject IP Address”) is registered as
                     3 being part of the Ooredoo ISP Network. The unauthorized data transfer carried out
                     4 by the person or persons using the Subject IP Addressis was part a coordinated
                     5 effort to infiltrate BCM’s servers for the purpose of stealing, and then publicly
                     6 disseminating, BCM’s and Broidy’s private email and confidential documents.
                     7         As the operator of the Ooredoo ISP Network, Ooredoo maintains, among
L L P




                     8 other things, logs that record the Internet activity of computing devices using IP
F L E X N E R




                     9 addresses registered to the Ooredoo ISP Network. Ooredoo also maintains
                    10 information that can be used to identify subscribers who were using specific IP
                    11 addresses on specified dates. This Court is, therefore, requesting assistance in
S C H I L L E R




                    12 obtaining from Ooredoo Internet activity logs and subscriber information relating
                    13 the Internet activity associated with the Subject IP Address on two specific dates.
                    14 The requested evidence is material to the issues being litigated in this Court and will
                    15 help identify the individuals and computing devices that infiltrated BCM’s servers
B O I E S




                    16 on February 14, 2018, and February 19, 2018. Plaintiffs believe Ooredoo may be
                    17 the only reasonably available source that has possession, custody, or control of such
                    18 evidence.
                    19        III.   PARTIES AND THEIR COUNSEL
                    20        The parties to the above-captioned case and their counsel are as follows
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                    22
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                                                                                      LETTER ROGATORY
                  Case 2:18-cv-02421-JFW-E Document 90-2 Filed 06/11/18 Page 5 of 7 Page ID #:1647




                     1
                     2 Attorneys for Plaintiffs Elliott Broidy       Attorneys for Defendants Stonington
                       and BCM                                       Strategies LLC and Nicolas D. Muzin
                     3 BOIES SCHILLER FLEXNER LLP                    WILEY REIN LLP
                     4 David K. Willingham, Esq.                     Stephen J. Obermeier, Esq.
                       725 S Figueroa Street, 31st Floor             Matthew J. Gardner, Esq.
                     5 Los Angeles, California 90017                 Rebecca J. Fiebig, Esq.
                     6                                               1776 K Street NW
                       Lee S. Wolosky, Esq.                          Washington, DC 20006
                     7 Robert J. Dwyer, Esq.
L L P




                                             th
                     8 575 Lexington Ave., 7 Floor                   LECLAIRRYAN LLP
                       New York, New York 10022                      Brian C. Vanderhoof, Esq.
F L E X N E R




                     9                                               725 S. Figueroa Street, Suite 350
                    10 Amy L. Neuhardt, Esq.                         Los Angeles, California 90017
                       1401 New York Avenue, NW
                    11 Washington, DC 20005
S C H I L L E R




                    12                                               Attorneys for Defendant State of
                                                                     Qatar
                    13                                               COVINGTON & BURLING LLP
                    14                                               Mitchell A. Kamin, Esq.
                                                                     Neema T. Sahni, Esq.
                    15
B O I E S




                                                                     Mark Y. Chen, Esq.
                    16                                               Rebecca G. Van Tassell
                                                                     1999 Avenue of the Stars, Suite 3500
                    17                                               Los Angeles, California 90067-4643
                    18
                                                                     Attorneys for Defendants Global Risk
                    19                                               Advisors LLC and Kevin Chalker
                    20                                               WILMER CUTLER PICKERING
                                                                     HALL AND DORR LLP
                    21                                               Rebecca A. Girolamo
                    22                                               350 South Grand Avenue, Suite 2100
                                                                     Los Angeles, CA 90071
                    23
                               IV.    RECIPROCITY
                    24
                               The United States District Court for the Central District of California
                    25
                         expresses its willingness to provide similar assistance to the Appropriate Judicial
                    26
                         Authority of the State of Qatar.
                    27
                               V.     REIMBURSEMENT FOR COSTS
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                                                                                       LETTER ROGATORY
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                     1         Counsel for Plaintiffs is willing to reimburse the judicial authorities of the
                     2 State of Qatar for costs incurred in executing this Letter Rogatory. If the cost of
                     3 executing this Court’s Letter Rogatory exceeds $1,500.00, the judicial authorities of
                     4 The State of Qatar are requested to contact the counsel for Plaintiffs:
                     5
                     6                David K. Willingham, Esq.
                                      725 S Figueroa Street, 31st Floor
                     7                Los Angeles, California 90017
L L P




                     8
                                      SPECIAL PROCEDURES
F L E X N E R




                               VI.
                     9
                               This Court requests that the evidence produced by Ooredoo in response to this
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                         letter rogatory be accompanied by a certification attesting that the documents are
                    11
                         authentic and that the documents are records Ooredoo creates and maintains in the
S C H I L L E R




                    12
                         regular course of its business (“Certification”). This special procedure is being
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                         requested in order to comply with the Federal Rules of Evidence, which apply to
                    14
                         evidence that will be presented to this Court. Pursuant to the Federal Rules of
                    15
B O I E S




                         Evidence, the Certification must be signed by a person in the company who is
                    16
                         responsible for maintaining the documents being produced. In addition, the
                    17
                         Certification must be signed in a manner that would, if falsely made, subject the
                    18
                         maker to a criminal penalty in the State of Qatar. This Court considers it necessary
                    19
                         in the interests of justice that such a Certification be obtained from a representative
                    20
                         of Ooredoo when it produces the documents. To provide Ooredoo with guidance
                    21
                         when preparing the Certification, a proposed form is attached to this letter rogatory
                    22
                         as Attachment B.
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                                                                                        LETTER ROGATORY
                  Case 2:18-cv-02421-JFW-E Document 90-2 Filed 06/11/18 Page 7 of 7 Page ID #:1649




                     1 DATED: June ___, 2018
                                                              Hon. John F. Walter
                     2                                        United States District Judge
                     3                                        350 W. 1st Street, Courtroom 7A
                                                              Los Angeles, CA 90012
                     4                                        United States of America
                     5 Kiry K. Gray, Clerk of Court
                     6 by (deputy clerk’s signature)
                     7 Deputy Clerk (deputy clerk’s printed name)
L L P




                     8
                       Seal (district court’s inked stamp seal is affixed here)
F L E X N E R




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S C H I L L E R




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                                                                                    LETTER ROGATORY
